                                                                          r-lFRK'
                                                                                S oyFlcE tJ.s.Dlsm K URT
                                                                                  ATROANOKE,VA
                    IN TH E U N ITED STATE S D ISTRICT COU RT                         FILED
                    FO R TH E W E STERN D ISTRICT O F W RGIN IA
                                RO AN O U D IW SIO N                              pE: 1'1 2212
                                                                              JUL 0. DLEX CLERK
                                                                             BK
 ALLE SAN D RO CAN CIAN ,                                                          D P4   C

       Plaintiffy
                                                CivilAction N o.7:18-cv-00283
 V.


 I-IAN N ABASS AN D ROW E ,LTD .,

 and

 LIN D SAY M ICH ELLE STIN SON ,

       D efendants.                             By: M ichaelF.U tbansld
                                                       ClliefU.S.Districtludge
                             M E M O RAN D U M O PIN IO N

       Thism atttrcom esbeforethe courton D efendantHannabass& Rowe,Ltd.'s

 rTHannabass'')andDefendantLindsayMichelleSdnson'stffsHnson')M odonstoDismiss,
 lloth Sled on O ctober 16,2018.ECF N o.17-19ECF N o.18-1.PlaindffAllesandro Cancian

 rTlaintifp?orTfcancian'')flledtheoriginalcompbintitlthissuitonlune20,2018.
                                                                          *ECF No.
 1.Plainéffflled theam ended com plaintagznstD efendantson O ctobez2,2018.ECF N o.

 16.ln responseto D efendants'm otionsto disrniss,PlaindffAllesandro Cancian flled a

 m em orandum in opposiéon on October30,2018.ECF N o.23.Forthezeasonsstated

 below,the courtnow D E N IE S D efendants'm odons.



       Tlliscaseadsesfrom allegedcopyrightinftingement.Plaindffisayhotographerwho
 zegistered aphotogtaph with theUnited StatesCopydghtO fhce on M ay 5,2017.Cancian

 posted hiscopyrighted photograph on thew ebsitew wm soopx.com on M atch 17,2012.


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 Plaintiffallegesthe copyrightwasinftinged when D efendantsfTcopied and posted thephoto

 on Hannabass'commercialwebsitey''Tron oraboutNovember23,2015.':ECF No.16,! 11.
        H annabassisacorporation form ed underthelaw sofVirginia,headquartered in

 Roanoke,Virginiaandspecializingin carrepair.ECF No.16,T2.Stinsonwasthesoleowner
 andmemberofStinsonCommunicadonsLLC rfstinsonCommunicadons'),aVirgt
                                                                  'm'a
 limitedliabilitycompany.ECF No.16,!12.Cancian contacted Stinson through counselon
 February 6,2017,requesdng both thatStinson rem ove the photo im m ediately and that

 Cancian receive com pensaéon fortheinfringem ent.ECF N o.18-5.Thephoto w asrem oved

 29 dayslater.ECF N o.17-1,2.

                                             II.

        Rule129$(6)oftheFederalRulesofCivilPzocedtzrepet-mitsapattytomovefot
 disrnissalofacom plaintforfailure to state a clnim upon wlaich reliefcan begranted.To

 surviveamoéontodismissunderRule129$(6),theplaintiffmustpleadsufûcientfactsTfto
 raise arightto reliefabovethe speculative level''and ffstatea cbim to teliefthatisplausible

 onitsface.''BellAtl.Co .v.Twombl,550U.S.544,5555570(2007).A plaintiff
 establishes(ffacialplausibilitf'bypleadingfrfactualcontentthatallowsthecourttodtaw the
 reasonableinference thatthe defendantisliable forthe misconductalleged.''Ashctoftv.

 Iqbal,556U.S.662,678(2009).lnrulingona124$(6)modon,thecourtmustacceptall
 well-pleaded allegationsin thecom plnintastrueand draw allreasonable factazalinferencesin

 thelightmostfavorabletotheplaintiff.Ibarrav.United States,120F.3d 472,474 (4th Cir.
 1997).However,Tfgtlhreadbaierecitalsoftheelementsofacauseofacéon,supportedby
 mereconclusorystatem ents,do notsufhce.''Lqb-al,556U.S.at6789seeW a M oreDo s

                                              2
Case 7:18-cv-00283-MFU-RSB Document 26 Filed 12/11/18 Page 2 of 9 Pageid#: 144
 LLC v.Cozart,680F.3d359,365(4f.hCir.2012)(holdingthecourt(fneednotacceptlegal
 conclusionscouched asfactsorunwartanted inferences,unzeasonable conclusions,ot

 azplments'')(internalquotadonmarksomitted).
                                           111.

       D efendantsH annabassand Sénson have both fzed m odonsto dism iss.These

 m oéonsV IIbeaddressed in turn.Asthe alleged acdonsofStinson Com m unicadonsgive

 riseto thissuit,Sdnson'sm odon willbe examined fust.

                                            A.

       In herm odon,Stinson argtzesthatshecannotbeheld individually liable foracéons

 perform ed by Stinson Com m unicaéonsbecause Stinson Com m unicaéonsisan LLC.An

 LLC,otLim ited Liability Com pany,isalegalendty sepatate from itsm em bersorowners.

 RemoraInves% ents,LLC v.Orr,277Va.316,322,673S.E.2d 845,847 (2009).An LLC
 thusshieldsitsm em bersfrom personalliability fortheacéonsoftheendty.Id.Plaindff's

 complaintallegesthatStinsonisfjointlyandseverallyliableforanydirectcopyright
 infringementcommitted byStinson CommunicaéonsLLC.''ECF No.16,$ 20.Plaindffalso
 allegesthatStinson isffvicariously liable''foztheacdonsofStinson Com m unicaéons.Id.

 Plaintiffdid not,however,nam e Stinson Com m unicaéonsasa defendantin thiscase,and

 instead nam ed Sdnson in herindividualcapacity,seeking to hold hetpetsonally liable.See

 ECF N o.16.

       O nly afew factualscenariospet-m itaplaindffto bypassthe sllield an LLC offersand

 hold themembersofthatLLC personallyliable.SeeIn reW hite,412B.R.860,865(Bankr.
 W .D.Va.2009)(staéngthelimitedcircumstancesjuséfyingthepiercing ofanLLC veil).


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 First,am em berorofûcerofan LLC m aybe pursued individually foracdonstaken by the

 LLC when acourtdecidesto ffpiercetheveil.''ld.A courtm ay pierce theveilin thtee

 instances:1)ffwhen theunityofinterestand ownership issuch thattheseparatepersonalides
 ofthe (LLQ and theindividualsno longerexistand toadhereto thatseparatenesswould
 wozkanitjusécei''2)whetetheindividualsoughttobeheldliableattemptedtousetheLLC
 veiltoevadeapersonalobligadon,pememateafraudorcrime,commitanitjusdce,orgain
 anadvantage;and3)wheretheLLC'Sinabilitytosatisfyajudgmentagninstitistheresultof
 deliberateundercapitalizadon.ld.(quodngO'Hazzav.ExecudveCreditCo .246Va.111,
 115,431S.E.2d318,320(1993));Danav.313Fzeemason,lnc..266Va.491,502,587S.E.2d
 548,554 (2003).
       Plaintiffhaspled no factsindicating thatany oftheabove appEes.Instead,Plaindff

 statesthatSénson Com m unicaéonsno longerexists- indeed,Stinson Com m unicaéonswas

 cancened fornon-paymentoffeesonlanuary31,2017.ECF No.16,!13;ECF No.23-1.
 Tllisfacton itsown,however,doesnotexposeSénson to personalliability.Vitgm
                                                                         'l'a's

 LimitedLiabilityCompanyAct(theAct)statesthat,intheeventofautomaéccancelladonof
 anLLC'Sexistence(dueto,forexample,afailuretopayfees),
              ffN o m em ber, m anager, or other agent of a lim ited Iiability
              com pany shallhave any personalobligaéon for any liabiliées of
              the lim ited liability com pany, whether such liabilides adse in
              conttact,torq or otherwise,solely by reason ofthe cancelladon
              of the lim ited liability com pany's existence pursuant to this
              secdon.''

 Va.CodeAnn.j13.1-1050.2(2013).Further,theActgoesontoprovidefotpotendal
 clnim antsin the eventofcancelladon,saying



                                              4
Case 7:18-cv-00283-MFU-RSB Document 26 Filed 12/11/18 Page 4 of 9 Pageid#: 146
                  <T he cancelladon of e'xistence of a lim ited liability com pany
                  shallnottake away orim pair any tem edy available to or against
                  the lim ited liability com pany or its m em bers or m anagers for
                  any right or clnim exiséng,or any liability inctured,before the
                  cancellation.''

 vA.codeAnn.j13.1-1050.5(2013).Cancian'sphotoraphwasallegedlypostedon
 H annabass'websitein N ovem betof2015.D uting thistim e,Sdnson Com m unicadonswasa

 properly form ed and operadonalLLC ofVitgilaia.Thecancellaéon ofthatstatusdoesnot

 exposeSdnson to personalliabilitpl

         PlaindffalsoassertsthatSdnsonisbothfjointlyandseverallyliable''andffvicadously
 liable''fortheinfringem entofStinson Com m unicaéons.The CopyrightAct,asintem reted

 by the courts,extendspersonalliability fortheacdonsofcom oraéonsand LLCSunder

 certaincitcumstances.See17U.S.C.A.j501(a-b)(2002)rfAnyonewhoviolatesanyofthe
 exclusiverightsofthe copyrightownerasprovided by sections106 through 122 ...isan

 infringerofthe copyright....The legalorbenehcialownerofan exclusiverightundeta

 copyrightisendtled...to inséttztean action foran inftingement....>');UniversalFutnitare
 Jnt'l,Inc.v.Frankel,835F.Supp.2d35,50(M .D.N.C.2011),afpd,538F.App'x267(4th
 Cir.2013)(imposingpersonalliabilityon acorpozateofhcerforcopyrightinfdngementby
 thecorporadonl.lointand severalliabilityforacomorateofhcerin thecontextofcopyright
 infringem entwilllie ffw hetethe officerw asthe dom inantinfluencein the com otaéon,and


 1In hism em o in opposidon to Sdnson'sm odon to dism iss,PlaindffpointsoutthatStinson Comm unicadonshad
 already been cancelled atthetim eherequested Stinson rem ove the photograph from H annabass'website and atthe tim e
 she did so,29 dayslater.Plaindffazguesthism akesherpersonallyliable fozherfailm e to ftfexpedidously'tem ovethe
 infringingworky''asrequizedby17U.S.C.j512(c)(2010).ECF No.23,8.Evenifthecourtacceptedthatremoval
 withinamonthisnotexpeclidous(andthereisnojuclicialconsensusontilispoint),Plaindffclidnotpleadsuchliabilil
 intheamendedcomplaint.SeeECFNo.16.SeealsoS uareRin Inc.v.Doe-l,No.CV 09-563(GMS)2015WL
 307480,at*7@ .Del.Jan.23,2015)Soldingthatde6ningthete= 'fexpedidous''requiresafacmalanalysisandlacks
 legalprecedenttoprovideguidance).Thecouztclnnotinfercbimsfrom memorandllm ftleditlopposidontoan
 opposing party'sm odon.

                                                         5
Case 7:18-cv-00283-MFU-RSB Document 26 Filed 12/11/18 Page 5 of 9 Pageid#: 147
 determined thepolicieswllich resulted in theinfringem ent.''Broad M usic,Inc.v.It'sAm ore

 C-IIlgs,No.3:08CV570,2009WL 1886038(M.D.Pa.June30,2009)(citingSailorMusicv.
 .




 MZ KaiofConcord.lnc.,640 F.Supp.629,634 (D.N.H.1984).Vicatiousliabilityin the
 sam e contextwillliewhetea corporateoffcerpossessesboth therightand abilityto

 supervisetheinfzinging acdvity and an obviousand ditectfm ancialintezestin the exploited

 copydghted m aterials.zN elson Salabes lnc.v.M ornin sideD evelo m entaLLC,284 F.3d

 505,513(4thCir.2002).SeealsoUniversalFurnitureIntern,835F.Supp.2dat50Solding
 thattheofficezofacloselyheldcompanythatwasthejudgmentdebtorforan$11million
 award fordam agesforthe infringem entofa copyrightholder'sfutnituredesignswas

 vicadously liable forthe com pany'sinfringem entbecause theofhcethad 170th theability to

 superdsethe distribution ofthe futniture and aEnancialintetestin exploidng the

 copyrighted furnitazte).

        Plaindffallegesin hiscom plaint,ffupon inform adon and belief,''thatSdnson m etthe

 criteria for130th form sofliability.The Twom bl -1 ba1standard doesnotbarpleaclings

 based upon inform ation and belief,though such pleaflingsareconsidered fftenuousatbest.''

 Raub v.Bowen,960F.Supp.2d 602,615(E.D.Va.2013).A plainéffmaydo so ifheorshe
 isin a position ofuncertaintybecause thenecessary evidenceiscontrolled by the defendant.

 Itidenoutv.Muld-colorCo .,147F.Supp.3d452,456 (E.D.Va.2015)(cidngArista
 Records,LLC v.Doe3,604 F.3d 110,120 (2nd Cit.2010)rfx'heTwomblyplausibility
 standard ...doesnotpreventaplainéfffrom pleading factsalleged Tupon infof-maéon and

 2Stinsonwastheownerand mem berofanLLC,notacom orateofEcer,butthelaw pertnining to liabilityform em bers
 ofan LLC generally m irrorsthatofcom oradons.See e.. Rem oraInvestm ents,277Va.at323,673 S.E.2d at848
 (determiningwhethermanagersofLLCSoweitsmembezsfduciaryduéesthroughexaminadonofanalogouscorporate
 law);Ri ov.CSCAssociates1IIIJ-E,262Va.48,56-57,547S.E.2d216,221(comparingamanagerofanLLC toa
 comoratedirectorandprovidingamanagerofanIJ.Cthesameprotecdonsanddudesasacomoratedirector).


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 beliefwherethefactsarepeculiarlywithinthepossessionandcontrolofthedefendant').
 Certainly,infot-m adon zegarding who dete= ined policies,influenced operadons,supervised

 acdviées,and possessed hnancialintetestsin speciik m aterialsatanow cancezed LLC

 w otzld bein the controlofthe m em beritself- in thiscase,Sdnson.3Stinson arguesin

 response thatCancian wasprovided info= adon thatffdizectly conttadictslnisallegadons

 based upon inform adon and belief.''ECF N o.18-1,4.Bethatasitm ay,thesearenotthe

 factspled in theam ended com plaint,which the courtm ustassum e astruein tnlling on this

 modon.SeeECF No.16.Thefactspled aresuffkienttomoveto thenextstageoflitkadon.
          Sdnson also argues,<<Itisaxiom adc thatin orderforStinson to bevicadously liable

 fortheactionsofSdnson Com m unicationsLLC,theLLC m ustbenam ed asa defendant.''

 ECF N o.18-1,4.O n the contrary,pbintiffsregularlybting clnim sagainstpardeson the

 basisofvicadousliability withoutnanning the directlyliableparty asa defendant.See e. .,

 Jaudonv.ElderHealth,Inc.,125F.Supp.2d.153(D.Md.2000)9GinaChin & Associates,
 Inc.v.FirstUrlionBank,260VA.533,537S.E.2d573(2000).Sdnsonatguesthatsome
 factsm ustbe alleged thatStinson Com m unicaéonsengaged in som eaction bywhich

 Sénson can be held individuallyliable,ECF N o.18-1,3-4.Atthisstagein theproceeding,

 thecourtisnotonly required to assum eallallegadonsin the com plaintare true,butto draw

 allreasonableinferencespossible from thecom plaintin theplaindff'sfavor.SeeIbarra,120


 3'I'
    hecourtnotesthattheTwombl-1 ba1standazd stillrequiresthataplaindff,when plearlingfactsbasedon
 inform adon and belief,allegeenough lm derlying factsto allow aplausibleinference ofliability in the contextofhisor
 herparticularcbim.HTC Co .v.IPCOmGMBH & Co.KG,671F.Supp.2d146,149(D.D.C.2009)(citingExeten
 Co .v.Wal-Mat'  tStoresInc.,575Fed.1312,1330(Fed.Cir.2009).Plaindff'scomplaint,itzitsrecitaloftherequired
 elementsofjointandseveralliabilityandvicaziousliabilityforcopyrkhtinfri
                                                                       ngement,comesdangerouslycloseto
 m issing tlkisthreshold.'
                         I'
                          hecourtholds,however,thatthe factspled zegarHing Stinson'srole in Stinson Comm llnicadons
 andthecopyrkhtinfringementalleged,whenasslxmedastrueandwhenallreasonableinferencesaredrawn,allows
 Plaindfftomeetthisstandazd,ifonlyjust.
                                                           7
Case 7:18-cv-00283-MFU-RSB Document 26 Filed 12/11/18 Page 7 of 9 Pageid#: 149
 F.3dat474rf...weconstruethefactsandreasonableinfetencesderived gfrom the
 complaintqin thelightmostfavorableto theplaintiff7).Plaindff'sclsimsthat
 to efendants...copied and used Copyrighted Photograph'?and thatffstinson w asthe

 dominantinfluencein Stinson Communications,LLC,anddetetmined and/ordirected the
 policiesthat1ed to theinfringem entscom plaintofherein''leadsto the clearinference that

 Stinson Communicationscaujed theinftingement.ECF No.16,!11,20.W hiletheamended
 com plqintprovidesrelatively littledetailto supportthe clnim sincluded therein,whatisthere

 issufikientsurmountthehutdleofa12q$(6)modonfordismissal.Stinson'smotionto
 dismissistherefote DE N IED .

                                                         B.

         PlaintiffallegesthatH annabassparécipated in the com plained-ofinflingem ent,

 asserting,ffBeginning on oraboutN ovem ber23,2015,D efendantscopied and posted

 CopyrightedPhotographtoHannabass'scommercialwebsite.''ECF No.16,!11.Hannabass
 arguesthatCancian knew thatithad taken Tdno acdon wlnich would consdtute an

 infringem enton llispicttzre.''ECF N o.17-1,3.A sstated above,however,thetruth orfalsity

 ofthisisnotyetatissue.In deciding thism otion,the couzttakesallfactsalleged in the

 complaintastrue.SeeIbarra,120F.3dat474r<...weacceptthewell-pledallegationsofthe
 complaintastttze...'').Plaindffallegesthatbof.h Defendantscommitted thecopyright
 infzingem enton N ovem ber23,2015.A tpresent,thisissufficient.4



 4Thecourtnotesthatinhismemorandllm inopposidontothismodon,PlaindffarguesthatHannabassissubjectto
 vicaziousliabilityinstead ofditectly liability fortllisinfe gem ent,due to itsbusinessreladonship with Se son
 Com m,lnicadons.ECF N o.23,9-10.A tpresent,the courtcazm otrale oh any contentoutside ofwhatispresentin the
 amended com plaint,butwillbe intezested itzçxploring whetherH nnnabassis(11      :ectly orvicadously liable,whether
 Slinson Com m xm icadonsfllncdoned asan em ployee oran independentcontractorofH annaba.s,and whatissuesthis
 raisesintermsofSndingliabilityforcopyright12fzingementatsllmmaryjudgment.
                                                          8
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       H annabassalso arguesthatitcannotbe held liable fortheactionsofan entitynot

 namedasadefendantinthissuit(heterefetringtoSdnson Communications).ECF&o.17-
 1,3.Again,H annabasscannotsim ply plead factsthatcontradictwhatispled in thenm ended

 com plaintin orderto securedisnaissalofthissuit.Such argum entsarebestbroughtin a

 modonforsummaryjudgment.SeeMattressv.Talor,487F.supp.zd665,669O .S.C.
 2007)(distinguishinga129$(6)moéonfrom amotion forsummaryjudgment)(ffrl'he
 defendantjreliesonlyon theallegatbnscontainedin theCompbintasabasisforltis
 moéon.Accordingly,thecourtagreeswithTaylorthatRule129$(6),andnotRule56,
 providestheappropriatestandard ofreview withrespectto llisModon to Dismiss.').
                                          IV.

       Forthereasonsexpressed above,D efendants'm otionsto disnlissareD E N IED .

       An apptopriate O rderwillbeentezed.
                                                               '''           '
                                                  .     ., .



                                        Enieféd:-'/'?,,= //-> zz
                                  ?dw?'           '                  .           '

                                        M ich
                                          .
                                                      F.Urbanski..       '


                                        Um edStatesDisttictludge




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